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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:10CR158
       vs.                                 )
                                           )                       ORDER
HECTOR PETERS GANDARA,                     )
                                           )
                                           )
                     Defendant.


         This matter is before the court on defendant's MOTION (SECOND) FOR
ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS [354]. For good cause shown,
I find that the motion should be granted. The defendant will be given an approximate 60-
day extension. Pretrial Motions shall be filed by August 12, 2011.

       IT IS ORDERED:

      1.  Defendant's MOTION (SECOND) FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [354] is granted. Pretrial motions shall be filed on or before August
12, 2011.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between June 13, 2011 and August
12, 2011, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 14th day of June, 2011.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
